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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PAMELA HARPER,                                     :
                      Plaintiff                    :      No:
                                                   :
       v.                                          :
                                                   :
SUNBEAM PRODUCTS, INC.                             :      JURY TRIAL DEMANDED
             Defendant                             :

                                        COMPLAINT


       1.    Plaintiff Pamela Harper is an adult individual currently residing in Bradford

County, Pennsylvania.


       2.    Defendant Sunbeam Products, Inc. is a foreign corporation, i.e., not

incorporated in Pennsylvania, with a corporate headquarters in Florida which markets

and sells its products through the United States including within the Middle District of

Pennsylvania.


       3.    In approximately 2015, Defendant manufactured and marketed an Oster Pro

1200 with Blend-N-Go Smoothie Cup accessory.


       4.    In approximately 2015 Plaintiff purchased an Oster Pro 1200 with Blend-N-

Go Smoothie Cup accessory manufactured marketed and sold by and/or on behalf of

Defendant.


       5. From the time the Oster Pro 1200 with Blend-N-Go Smoothie Cup accessory

was purchased and through October 7, 2017, it was used consistent with its instructions



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for use and care.


       6. Prior to October 7, 2017, the Oster Pro 1200 with Blend-N-Go Smoothie Cup

accessory at issue was given only normal or anticipated use.


       7. On October 7, 2017, Plaintiff was using her Oster Pro 1200 with Blend-N-Go

Smoothie Cup accessory consistent with the manufacturer's instructions as she was

holding one hand on top of the Blend-N-Go Smoothie Cup.


       8. While Plaintiff’s hand was resting on top of the Blend-N-Go Smoothie Cup,

the Blend-N-Go Smoothie Cup fractured and collapsed, and her hand fell into the

blades of the blender.


       9. When the Blend-N-Go Smoothie Cup fractured and collapsed, her hand that

had been on top of the cup fell towards and into the spinning blades of the blender.


       10.   As the fractured and collapsed Blend-N-Go Smoothie Cup and its contents

were sprayed at her face, she instinctively moved her other hand towards the blender to

shield herself and her hand came into contact with the spinning blades of the blender.


       11.   As a result of the blender cup fracture and collapse, Plaintiff sustained

serious injuries to both hands, primarily injuring the middle finger of her right hand and

the fifth and fourth fingers of her left hand.


       12.   This court has jurisdiction over the claims asserted in this complaint

pursuant to 28 U.S.C §1332.


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        13.   Venue lies in the Federal District Court for the Middle District of

Pennsylvania pursuant to 28 U.S.C §1391(b)(2).


                                          COUNT I


                                     STRICT LIABILITY


        14.   Paragraphs 1 through 13 are incorporated herein by reference as though

set forth in full.


        15.   At all times the Blend-N-Go Smoothie Cup provided by Defendant with the

Oster Pro 1200 as well as the Oster Pro 1200 itself were used in accordance with the

manufacturer's instructions for use and care.


        16.   Prior to and on October 7, 2017, the Blend-N-Go Smoothie Cup and Oster

Pro 1200 were given only normal or anticipated use.


        17.   There are no reasonable secondary causes for the catastrophic failure of

the Blend-N-Go Smoothie Cup provided by Defendant with the Oster Pro 1200 and, as

a result, Defendant is strictly liable for the injuries and damages sustained by Plaintiff as

a result of the catastrophic failure of the Blend-N-Go Smoothie Cup provided by

Defendant for use with the Oster Pro 1200.


        18.   No cracks and/or damage existed and/or were visible on the Blend-N-Go

Smoothie Cup prior to its sudden catastrophic failure.


        19.   As a result of the catastrophic failure of the Blend-N-Go Smoothie Cup

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provided by Defendants with the Oster Pro 1200 blender, Plaintiff sustained serious

injuries and damages including, but not limited to, physical harm, scars, permanent

limitations, emotional trauma, medical expenses, lost income and financial harm.


      WHEREFORE, Plaintiff Pamela Harper respectfully requests this Honorable

Court to enter judgment in her favor and against Defendant Sunbeam Products, Inc., for

an amount excess of the diversity jurisdiction monetary requirement for damages and

any such other relief as the Court deems just and appropriate.




                                                SCHEMERY ZICOLELLO


                                                By:   s/Michael J. Zicolello
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